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6
                         UNITED STATES DISTRICT COURT
7
                      WESTERN DISTRICT OF WASHINGTON
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      JOHN CARTER, an individual,                Case No.:
10
                   Plaintiff,                    COMPLAINT FOR DAMAGES
11
      vs.                                        VIOLATIONS OF 38 U.S.C. §4301
12
                                                 ET SEQ;
13
      RAILWORKS TRACK SYSTEM INC.,
      Corporation,                 FILING FEE WAIVED PER 38
14
                   Defendants.     U.S.C. §4323(h)
15
                                                 JURY TRIAL DEMANDED
16

17
            Plaintiff John Carter (“Plaintiff”) hereby complains against Defendant
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     Railworks Track Systems, Inc. (“Railworks”) as follows:
19
                            I.    NATURE OF THE ACTION
20
            1.   This is a civil action brought pursuant to the Uniformed Services
21
     Employment and Reemployment Rights Act of 1994, 38 U.S.C. § 4301 et seq.
22
     (“USERRA”). It is brought by Plaintiff against Defendant Railworks.
23
                                      II.    PARTIES
24
            2.   Plaintiff is a citizen of the United States and a resident of the State of
25
     Washington. Plaintiff was employed by Defendant at 247 U.S. Highway 12 Chehalis,
26
     Washington 98532, as a Thermite Welder. Plaintiff is also in the Oregon Army
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     National Guard (“OANG”).
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           3.     At all relevant times, Plaintiff was a qualified employee and member of
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     the uniformed services for the purposes of 38 U.S.C. §4303(3), (9) and (16).
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           4.     Plaintiff is informed, believes and alleges based on that information and
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     belief, that Defendant Railworks, is a corporation with its principal place of business
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     at 5 Penn Plaza New York, New York 10001. At all times relevant, Railworks was
6
     and is an employer for purposes of 38 U.S.C. §4303 (4)(A).
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           5.     Whenever and wherever reference is made to individuals who are not
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     named as defendants in this action, but were employees/agents of defendants, or any
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     of them herein, such individuals at all times acted on behalf of defendants named in
10
     this action within the scope of their respective employments and agencies.
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           6.     Whenever and wherever reference is made in this Complaint to any
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     conduct of defendants, or any of them, such allegations or references shall also be
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     deemed to mean the conduct of each defendant, acting individually, jointly and
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     severally.
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           7.     Plaintiff is informed and believes, and on the basis of that information
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     and belief alleges, that all times mentioned in this complaint, defendants were the
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     agents and employees of their codefendants, and in doing the things alleged in this
18
     complaint were acting within the course and scope of that agency and employment.
19
                           III.    JURISDICTION AND VENUE
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           8.     The jurisdiction of this court is founded on federal question jurisdiction,
21
     28 U.S.C. §1331, as conferred by 38 U.S.C. §4323(b)(3).
22
           9.     Venue is proper because Railworks does business in and has a location
23
     in this district, as provided in 38 U.S.C. §4323(c)(2) and 28 U.S.C. §1391(b).
24
           10.    Pursuant to 38 U.S.C. § 4323(h), “No fees or court costs may be charged
25
     or taxed against any person claiming rights under [USERRA]”.
26
                             IV.   GENERAL ALLEGATIONS
27
           11.    Plaintiff re-alleges and incorporates herein by reference each and every
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     allegation contained within paragraphs 1 through 10, inclusive, as though set forth at
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     length herein and made a part hereof.
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           12.    Plaintiff John Carter is a resident of Yelm, Washington and a member
4
     of the Oregon Army National Guard. Plaintiff performed various periods of military
5
     service during his employment with Defendant.
6
           13.    Plaintiff began working for Defendant in September of 2016 as a
7
     Thermite Welder. When he was hired, Plaintiff informed Defendant of his
8
     membership in the OANG and of his monthly military service obligations, including
9
     his two-week annual training obligation. Mark Masters, Defendant’s manpower and
10
     scheduling manager, told Plaintiff his military obligations would be would not be a
11
     problem for Railworks.
12
           14.    Plaintiff reported to Mr. Masters for scheduling. Mr. Masters told
13
     Plaintiff welders would be placed on maintenance crews or other prevailing jobs if
14
     welding specific work was slow, and that welders would always have opportunities
15
     for work.
16
           15.    Plaintiff gave Mr. Masters a copy of his annual military “drill” schedule
17
     and would also give several days’ notice prior to any upcoming military obligation.
18
           16.    Mr. Masters, as a part of his scheduling responsibilities, would provide
19
     plaintiff, and other employees, with their next week’s work schedules the previous
20
     Friday.
21
           17.    In January 2017, Plaintiff began to experience friction with Mr. Masters
22
     specific to scheduling around his military service absences.
23
           18.    In March 2017 the friction between Plaintiff and Mr. Masters worsened
24
     when Plaintiff left for military training. Upon his return, Mr. Masters stopped actively
25
     providing Plaintiff with a weekly work schedule as he had done previously and
26
     continued to do for other employees. Plaintiff was forced to proactively reach out to
27
     Mr. Masters for a work schedule.
28
                                                 3

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             19.   In April 2017, Defendant would no longer schedule Plaintiff for welding
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     jobs, and merely scheduled him as a regular laborer, instead scheduling more junior
3
     workers for welding jobs.
4
             20.   Eventually Defendant completely stopped scheduling Plaintiff for
5
     regular weekly work, only bringing Plaintiff in occasionally when there were no other
6
     welders available.
7
             21.   Since Plaintiff started working with Defendant it was not uncommon for
8
     workers to occasionally arrange for work with a job foreman directly. Since
9
     Defendant had ceased scheduling Plaintiff for regular work, Plaintiff was forced to
10
     coordinate directly with other foremen to maintain work hours, often with foreman
11
     Bob Holt.
12
             22.   After several weeks of coordinating directly with Mr. Holt for work, Mr.
13
     Masters confronted Plaintiff, stating he was not permitted to coordinate for work
14
     directly with other foremen. Mr. Masters also told Plaintiff there wasn’t any work for
15
     him and his military obligations were becoming an inconvenience.
16
             23.   In or about May 2017, Plaintiff left for his annual training period. As
17
     soon as Plaintiff returned, he called Mr. Masters to say he would be available for
18
     work the following Monday.
19
             24.   Plaintiff waited several days but Mr. Masters never returned the call. In
20
     the absence of a schedule from Mr. Masters Plaintiff coordinated for work with Mr.
21
     Holt.
22
             25.   Plaintiff reported for work with Mr. Holt the following Monday. While
23
     on the job site with Mr. Holt, Plaintiff received a phone call from Mr. Masters who
24
     forcibly told Plaintiff it wasn’t his job to contact Plaintiff to coordinate work, it was
25
     Plaintiff’s job to contact him. Mr. Masters also told Plaintiff his leaving for the army
26
     is getting really old and it interferes with scheduling.
27
             26.   Approximately two weeks later, Plaintiff was unexpectedly activated to
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     military service to fight fires in Oregon. Plaintiff provided a copy of his activation
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     orders to Mr. Masters who told Plaintiff he didn’t want his military orders he wanted
3
     someone who can work.
4
           27.    Plaintiff returned mid-week after 20 days of fighting fires and called Mr.
5
     Masters to give notice of his return and request a work schedule. Plaintiff could not
6
     reach Mr. Masters but left him a voicemail. Mr. Masters did not return Plaintiff’s call
7
     until Sunday night, he demanded Plaintiff report to a job in Seattle at 6:00 a.m. the
8
     next morning. Plaintiff told Mr. Masters he had just returned from active duty and
9
     was over four hours away in Salem, Oregon without his tools and equipment. Mr.
10
     Masters threatened Plaintiff’s job, saying if he wanted to remain employed he had
11
     better be in Seattle in the morning.
12
           28.    Plaintiff reported to the Seattle job as directed and within 24 hours.
13
     When he arrived, however, the only other co-worker assigned to work with him was
14
     unexpectedly called away to support a rail accident at another site.
15
           29.    As a result, Defendant sent Dave Lund, Mr. Masters’ manager, to Seattle
16
     to check-in on Plaintiff. Plaintiff complained to Mr. Lund about Mr. Masters’
17
     treatment of him, the friction and scheduling issues. Mr. Lund told Plaintiff he would
18
     talk to Mr. Masters about these issues.
19
           30.    Defendant offers an annual raise to its employees. Mr. Masters assured
20
     Plaintiff during compensation negotiations when he was hired, he would be eligible
21
     for the annual raise after several months of employment, but when Plaintiff inquired
22
     with Defendant about his raise, he was told he was not eligible because he was
23
     already paid too much.
24
           31.    Bob Holt and Jim Globe suggested Plaintiff pursue one of Defendant’s
25
     Track Inspector positions because he was Federal Railroad Administration (FRA)
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     Certified. Track inspectors are required to be FRA certified because they must be
27
     trained to inspect railroad track work in accordance with federal regulations.
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           32.    Plaintiff approached Defendant’s management about the Track
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     Inspector position, but Mr. Masters told him was told he was not eligible because of
3
     his military absences.
4
           33.     On or around September 2017 Plaintiff quit working for Defendant.
5
                                         V.   COUNT ONE
6
                                Violations of 38 U.S.C. §4301 et seq.
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           34.    Plaintiff hereby alleges and incorporates all paragraphs 1-33 above by
8
     reference herein.
9
           35.    USERRA prohibits “discrimination against persons because of their
10
     service in the uniformed services.” 38 U.S.C. §4301(a)(3).
11
           36.    Section 4311 of USERRA provides, in relevant part, that a person “who
12
     is a member of, …performs, has performed,…or has an obligation to perform service
13
     in a uniformed service shall not be denied…any benefit of employment by an
14
     employer on the basis of that membership,…performance of service, or obligation.”
15
           37.    Section 4311(c) further provides, in relevant part, that “[a]n employer
16
     shall be considered to have engaged in actions prohibited…if the person’s
17
     membership…or obligation for service in the uniformed services is a motivating
18
     factor in the employer’s action.”
19
           38.    Plaintiff’s status as a military member was motivating factor in
20
     Defendant’s denial of Plaintiff’s employment benefits, including, but not limited to,
21
     subjecting Plaintiff to unfair scheduling practices different from other employees,
22
     failing to grant plaintiff a yearly raise, and denying Plaintiff promotion opportunities,
23
     ultimately resulting in Plaintiff’s constructive discharge.
24
           39.    Defendants, and each of them, knowingly and willfully violated
25
     USERRA by and among other ways, discriminating against Plaintiff, and by denying
26
     him benefits of employment “on the basis of” his “obligation to perform service in a
27
     uniformed service.”
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           40.    As a direct and proximate result of the conduct of Defendant as set forth
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     in this count, Plaintiff has suffered injuries and damages, including, but not limited
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     to, loss of past earnings and benefits, and loss of future earnings and benefits, all to
4
     his damage in an amount to be proven at trial.
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           41.    Plaintiff alleges such violations of USERRA were willful and requests
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     liquidated damages in an amount equal to the amount of his lost wages and other
7
     benefits pursuant to 38 U.S.C. §4323(d)(1)(C).
8
           42.    Pursuant to 38 U.S.C. §4323(h), Plaintiff further requests an award of
9
     reasonable attorney’s fees, expert witness fees, and other litigation expenses.
10
                                    VI.   JURY DEMAND
11
           Pursuant to Federal Rule of Civil Procedure 38 or any similar rule or law,
12

13   Plaintiff demands a trial by jury for all causes of action and issues for which trial by
14
     jury is available.
15
                                   VII. PRAYER FOR RELIEF
16
           WHEREFORE, based on the foregoing, Plaintiff prays for relief against
17
     Defendant as follows:
18
           1.     Declare that the acts and practices complained of herein are
19
     unlawful and are in violation of USERRA, 38 U.S.C. §4301, et seq.;
20
           2.     Require that Defendant fully comply with the provisions of
21
     USERRA by providing Plaintiff all employment benefits denied him as a
22
     result of the unlawful acts and practices under USERRA described herein;
23
           3.     Fees and expenses, including attorneys’ fees and costs
24
     pursuant to 38 U.S.C. §4323(h);
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           4.     Award Plaintiff prejudgment interest on the amount of lost
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     wages or employment benefits found due;
27
           5.     Order that Defendants pay liquidated damages in an amount
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     equal to the amount of lost compensation and other benefits suffered by
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     reason of Defendants’ willful violations of USERRA;
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           6.     Grant an award for costs of suit incurred; and, Grant such other
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     and further relief as may be just, and proper and which Plaintiff may be
5
     entitled to under all applicable laws.
6

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8    Dated: July 8, 2019              s/s Daniel Kalish
                                      Daniel Kalish, WSBA 35815
9
                                      HKM EMPLOYMENT ATTORNEYS LLP
10                                    Daniel Kalish, WSBA 35815
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13
                                      Attorneys for Plaintiff John Carter
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